
















In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00562-CR

____________


RENE BILL VALDEZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 232nd District Court

Harris County, Texas

Trial Court Cause No. 1087956






MEMORANDUM  OPINION

	Appellant, Rene Bill Valdez, pleaded guilty to the felony offense of aggravated
sexual assault of a child, and, in accordance with his plea bargain agreement with the
State, the trial court sentenced appellant to confinement for 12  years.  Appellant filed
a timely pro se notice of appeal 

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Tex. R. App. P. 25.2(a)(2); Griffin v. State, 145 S.W.3d 645, 648-49 (Tex.
Crim. App. 2004); Cooper v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001).	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	We note that appellant also waived his right to appeal.  See Buck v. State, 45
S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

 	All pending motions are dismissed as moot.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Keyes and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


